                Case 17-50024-LSS       Doc 277       Filed 07/02/19   Page 1 of 2



                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

In Re:                                            : Chapter 11
                                                  :
Citadel Watford City Disposal Partners, LP,       : Case No.: 15-11323 (KJC)
et al.,                                           :
                                                  :
                      Debtors.                    :
Gavin/Solmonese LLC, Liquidation Trustee          : MEDIATION STATUS REPORT
for the Citadel Creditors’ Grantor Trust,         :
successor to Citadel Watford City Disposal        :
Partners, L.P., et al.,                           :
                                                  :
         Plaintiff,                               :
                                                  : Adv. Proc. No.: 17-50024 (KJC)
v.                                                :
                                                  :
Citadel Energy Partners, LLC, et al.,             :
                                                  :
         Defendants.

Gavin/Solmonese LLC, Liquidation Trustee          :
for the Citadel Creditors’ Grantor Trust,         :
successor to Citadel Watford City Disposal        :
Partners, L.P., et al.,                           :
                                                  :
         Plaintiff,                               :
                                                  : Adv. Proc. No.: 17-50650 (KJC)
v.                                                :
                                                  :
Jonathan P. Reuben, C.P.A.,                       :
                                                  :
         Defendants.



                        MEDIATOR’S CERTIFICATE OF COMPLETION

       In accordance with this Court's Order Assigning Adversary Proceeding to Mediation, the
undersigned mediator reports that mediation was resolved in the following manner:

(a) The following individuals were present:

     (1) Counsel (name and party representing):
               Case 17-50024-LSS          Doc 277     Filed 07/02/19     Page 2 of 2



        Counsel for Plaintiff: Thomas Horan

        Counsel for Defendant Jonathan P. Reuben, C.P.A.: John Elzufon and Gary Alderson

(b) The following parties failed to appear and/or participate as ordered:

    (1) Parties (name and capacity): N/A

(c) The outcome of the mediation conference was:

           X          The matter has been completely resolved and counsel (or parties) should file
                      an appropriate stipulation and proposed order within twenty (20) days.

                      The matter has been partially resolved and counsel (or parties) have been
                      instructed to file an appropriate stipulation and proposed order regarding those
                      claims or issues which have been resolved within twenty (20) days.
                      The following issues remain for this court to resolve:

                      The matter has not been resolved and should proceed to trial.

                  OTHER:



Dated: July 2, 2019                                 Mediator

                                                    /s/ Ian Connor Bifferato
                                                    Ian Connor Bifferato (#3273)
                                                    THE BIFFERATO FIRM
                                                    1007 N. Orange Street, 4th Floor
                                                    Wilmington, DE 19801
                                                    (302) 225-7600
